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 6   SANDRA HERMOSILLO
 7

 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,           )                2:11-CR-00296 WBS
                                         )
13
                             Plaintiff,  )                STIPULATION AND
14                                       )                ORDER TO RELEASE PASSPORT
     v.                                  )                TO ALLOW TRAVEL TO MEXICO
15                                       )
                                         )
16
     SANDRA HERMOSILLO,                  )
17                                       )
                             Defendant.  )
18   ___________________________________ )
19

20                                           STIPULATION
21          Plaintiff, United States of America, by and through its counsel, Assistant United States
22
     Attorney Brian Fogerty, and Defendant, Sandra Hermosillo, by and through her counsel, Erin J.
23
     Radekin, hereby stipulate that Ms. Hermosillo may travel to Mexicali, Mexico, at any time from
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25   August 28 to September 3, 2019, to visit family. Ms. Hermosillo has traveled to Mexico to visit

26   family on 13 prior occasions in this case, and there have been no reported violations of the court-
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     imposed travel conditions.
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                                             Stipulation and Order - 1
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 1          It is further stipulated that Ms. Hermosillo may pick up her passport from the court on the
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     date of the filing of the proposed order to permit her to travel to Mexico on or after August 28,
 3
     2019. Ms. Hermosillo must return to the United States no later than September 3, 2019 and must
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 5
     surrender her passport to the court within 24 hours of returning to the United States, but in no

 6   event later than September 4, 2019.
 7          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 8
     IT IS SO STIPULATED.
 9
     Dated: August 26, 2019                        MCGREGOR SCOTT
10
                                                   United States Attorney
11
                                           By:     /s/ Brian Fogerty
12                                                 BRIAN FOGERTY
                                                   Assistant United States Attorney
13

14

15   Dated: August 26, 2019                        /s/ Erin J. Radekin
                                                   ERIN J. RADEKIN
16
                                                   Attorney for Defendant
17                                                 SANDRA HERMOSILLO
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     IT IS SO ORDERED.
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     Dated: August 26, 2019
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                                              Stipulation and Order - 2
